Case 1:18-cr-00759-JSR Document 120-3 Filed 07/22/20 Page 1 of 1

Sent: Mon, 08 Aug 2016 14:47:04 +0000

 

Subject: Fwd: White street aan ee - ; / saa: .
From: "Jonathan Black" <jonathan.black@barworks.nyc> Subles = ve " SEREOS, te pes hereto have duly executed this Agreement of
To: "Samuel Aura” <samuel@barworks.nyc> ubloane as Of the Gay anil yeer fest above written.
Sent: 7 Sep 2018 16:14:36 +0000

Broadway-C & A Blues-Bar Works-Consent to Sublease-EXECUTED pdf SUBLANDLORD:

C & A BLUES, INC.

  
   

   

Make sure you check my signatures for instance page 18 before sending this off.

Sent fi / iPI By.
Sent from my 1Phone Eran Keren, President
Begin forwarded message:

SUBTENANT:

BAR WORKS TRIBECA, INC,

)
By: Lh

Name Rinne Peo er
Title: Pidlecron .

Landlord:
380 Broadway, LLC
Read, understood and agreed as to all paragraphs of this Sublease applicable to Landlord

By
Name
Title

 

 

 
